 KEITH D. KARNES, OSB No. 033521
 keith@rankkarneslaw.com
 Rank & Karnes Law, P.C.
 2701 12th St. SE
 Salem, OR 97302
 Tel: 503-385-8888
 Fax: (503) 385-8899

 KEVIN J. RANK, OSB No. 914034
 kevin@rankkarneslaw.com
 Rank & Karnes Law, P.C.
 2701 12th St. SE
 Salem OR 97302
 Tel: 503-385-8888
 Fax: 503-385-8899

 BRADY MERTZ, OSB No. 970814
 brady@bradymertz.com
 Brady Mertz PC
 345 Lincoln St SE
 Salem OR 97302
 Tel: 503-385-0121
 Fax: 503-375-2218

 RICK KLINGBEIL, OSB No. 933326
 rick@klingbeil-law.com
 Rick Klingbeil PC
 1826 NE Broadway
 Portland OR 97232
 Tel: 503-473-8565



                   UNITED STATES BANKRUPTCY COURT

                          DISTRICT OF OREGON


  IN RE:                              Case No. 19−60230-pcm11

   WILLIAM JOHN BERMAN                Adv. Pro. No. 19-06026-pcm


Page 1 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
                                  Debtor         CONCISE STATEMENT OF
                                                 MATERIAL FACTS IN
                                                 SUPPORT OF MOTION FOR
                                                 SUMMARY JUDGMENT RE:
                                                 COMPLAINT FOR NON-
                                                 DISCHARGEABILITY OF DEBT
                                                 PURSUANT TO 11 U.S.C. §
                                                 523(a)(2)(A) and 11 U.S.C.
                                                 523(a)(6)



   LOREN HATHAWAY, on behalf of
   himself and all others similarly
   situated; GENNISE HATHAWAY,
   on behalf of herself and all others
   similarly situated; and
   HEATHER NOBLE, on behalf of
   herself and all others similarly
   situated

                                Plaintiffs
                     v.

   WILLIAM JOHN BERMAN,

                             Defendant.


                    I. CONCISE STATEMENT OF MATERIAL FACTS

       1.     At all material times: B. & J. Properties (“B. & J.”) and Better

Business Management (“BBM”) were closely-held Oregon corporations owned

and operated by William J. Berman (“Mr. Berman”) and his spouse Debra

Berman. Mr. and Ms. Berman were the sole owners and officers of both

companies. Mr. Berman was the registered agent for both companies. (Rick

Klingbeil declaration, ¶ 2, Exhibit 1; Id., ¶ 3, Ex. 2, Hathaway et al. v. B. & J.

Page 2 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
Property Investments, Inc., et al, MCCC 13C14321, Dkt. 10/16/18,1 Corrected

Opinion Letter, p. 3).

       2.     BBM managed and operated a mobile home park (“Salem RV Park”

or "Park") located in Salem, Marion County, Oregon. (Id.).

       3.     B. & J. owned the real property upon which the Salem RV Park was

located, and leased the property and facilities to BBM. (Id.; In Re: B. & J. Property

Investments, Inc., 19-60138-pcm11, Dkt. 89, 1582, Schedule A/B).

       4.     On April 12, 2013 Plaintiffs / Class Representatives Loren

Hathaway, Gennise Hathaway, and (later in the case) Heather Noble, acting on

behalf of themselves and the Class of all others similarly situated (“The Class” or

“Class Members”) filed claims against B. & J. and BBM. Their claims included

allegations under ORS §90.315(2), (4)(a) and (4)(b) for intentional violations of

Oregon’s landlord tenant law relating to utility charges. Hathaway et al. v. B. & J.

Property Investments, et al., Marion County Circuit Court, case number Case No.

13C14321. (Klingbeil dec., ¶ 3, Ex. 3, Hathaway Case, Dkt. 4/12/2013,

Complaint).



1 Documents filed in preceding Hathaway et al. v. B. & J. Property Investments, Inc., et
al, MCCC 13C14321 case (the civil claim that led to Mr. Berman’s debts to the Class
Members now filing this Motion) will be cited in the remainder of this brief as the
“Hathaway Case.” Each cite will include the date the document was entered into the
state court docket, and a short description of the document where necessary.

2Documents filed in this case, In re: B. & J. Property Investments, Inc., 19-60138-
pcm11, will be cited as “In re: B&J” and will include the docket and page number where
relevant.

Page 3 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
       5.     The Class Members’ claims included allegations that each month B.

& J. and BBM inflated billings for electrical service provided to Class Members. It

also alleged they charged Class Members an unlawful monthly fee that they had

misleadingly named “PGE meter fee.” (Id.)

       6.     At the time the Hathaway Case was filed, Mr. Berman had over 15

years of experience managing the Park. That was his primary occupation for the

times relevant to this lawsuit. According to Mr. Berman, RV Park ownership and

management has been the thing he does “on a daily basis,” for “the last couple of

decades.” (Id., ¶ 4, Ex. 4 - Berman trial transcript, p. 991).

       7.     At all times relevant to the claims and allegations in the Hathaway

Case (April, 2003 forward) BBM, B. & J., and Mr. Berman were represented by

counsel, and have had yearly corporate meetings with both their attorneys and a

CPA present. Their attorneys created corporate minutes from each of those

meetings. (Id., ¶ 4, Ex. 5 - Berman trial transcript, pp. 1650-51, 1658).

       8.     At all times relevant to the claims and allegations in the Hathaway

Case (April, 2003 forward) BBM, B. & J., and Mr. Berman had attorneys on

retainer and could consult with them regarding any statutes or laws related to the

operation of BBM, B. & J., and the Park, including rules relating to electrical

billings, meter reading fees, and Park operations and management. Even so, he

never did. (Id., ¶ 4, Ex. 6, Berman trial transcript, pp. 994, 1702-04).

       9.     On January 15, 2015 Judge Dennis Graves of the Marion County

Circuit Court granted partial summary judgment on liability against defendant BBM

Page 4 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
on Plaintiffs’ ORS §90.315(4) claims. The court held that BBM inflated billings for

electrical service and that charging the $10 “PGE meter fee” violated the statute.

(Id., ¶ 3, Ex. 7, Hathaway Case, Dkt. 1/15/15, Order).

       10.    The determination of B& J’s liability for the ORS §90.315(4)

violations was deferred pending a bench trial at a later date to determine whether

to disregard the BBM corporate entity and hold B. & J. directly liable for BBM’s

misconduct.

       11.    Beginning July 29, 2013, after the Class Members prevailed on their

Motions for Partial Summary Judgement on their ORS §90.315(4) claims, BBM

stopped charging the unlawful overcharges for electrical service, and discontinued

the unlawful $10 “PGE Meter” fee. (Id., ¶ 3, Ex. 8, Hathaway Case, Dkt. 7/8/2015,

pp. 3-4, Opinion Letter).

       12.    After the Park stopped the unlawful charges, it collected

approximately $20 less per tenant for electrical service each month. (Id.).

       13.    Concurrent with making these changes, BBM retaliated against each

Class Member, raising their monthly rent by $20. (Id.) Mr. Berman admitted this

was done to recoup the amount the Park had been unlawfully receiving from

unlawful electrical charges in violation of ORS §90.315(4). He testified at trial:

              "Q.    Now, you had a meeting after that change [compliance with the
                     court’s rulings on the electrical overcharges and meter reading fee]
                     occurred or around the time the change occurred with the tenants
                     at Salem RV Park?

              A.     I did.


Page 5 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
              Q.     And did you explain to them at the meeting the idea is you were
                     trying to be revenue-neutral by raising the rent $20 a month?

              A.     I did.

              Q.     Okay. And by that, you mean we're giving a $10 -- we're getting
                     $10 less because we're not charging the meter-reading fee and
                     we're bringing in less for the electricity charges? Right?

              A.      Yes.

              Q.     Okay. So $20 about evened that out?

              A.     Yes.

              Q.     Okay. Now, the people that were there back in April of 2013 and
                     that are still there, they're still being charged that additional $20
                     rent?

              A.     Yes. (Id., ¶ 4, Ex. 9, Berman trial transcript, p. 1017).

        14.   Mr. Berman’s business model for the Park had relied in significant

part on the approximately $20 per month taken from each Class Member through

the unlawfully inflated electric bills and the unlawful meter reading fee. Before the

Class filed its lawsuit, instead of increasing rent on tenants at the Park during the

relevant class period (April, 2003 onward) to obtain the proper debt coverage

ratios, Mr. Berman decided to hide the charges by inflating electric bills and

charging a meter reading fee disguised as a “PGE Meter Fee.” Mr. Berman

testified that absent those additional unlawful charges, he was at risk of the bank

calling the note on the Park property. Asked why the Park raised the rent by $20

after the court granted summary judgment on the ORS §90.315(4) claims, he

testified:


Page 6 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
              A.      *** [I]t had to do with the pressure from my mortgage company that
                      we were borderline on debt coverage ratio as a covenant of the
                      loan and if our revenue stream diminished, because you have to
                      remember we hadn't had a rate increase since 2008, that then I
                      would be in vi – I was concerned that I would -- the bank would call
                      my loan, …. …. (Id., ¶ 4, Ex. 10, Berman trial transcript, p. 1018).

       15.    On September 19, 2013 Plaintiffs amended their Complaint and

alleged retaliation in violation of ORS §90.385 based on the $20 monthly rent

increase. (Id., ¶ 3, Ex. 11, pp. 14-15, Hathaway Case, Dkt. 9/19/13, Complaint –

Third Amended).

       16.    On July 8, 2015 Judge Graves granted partial summary judgment

for liability on the Class retaliation claims. He wrote:

              “In this case, it is clear that the Defendants took action by raising the
              rent as a result of the lawsuit. The owner of the park, Mr. Berman,
              held three meetings to announce new policies and explain to tenants
              that the result of the change in policies was to be “revenue neutral.”
              In essence, this means that the park ceased their undisclosed
              practice of overcharging for electricity and separately charging for
              “meter reading.” It is obvious that these changes in “the policy” were
              made in response to this current lawsuit. Once the Defendants were
              no longer able to illegally overcharge tenants for electricity and
              meter reading fees, they chose to instead increase the rent. It is
              clear that this action was done in response and because of tenants’
              filing this lawsuit. As a result, this court finds that Defendants did in
              fact violate ORS 90.385 by retaliating when they raised rent by $20.”

              (Id., ¶ 3, Ex. 12, Hathaway Case, Dkt. 7/8/2015, Opinion - Letter).

       17.    On April 19, 2016 Judge Graves entered an Order granting the

Class Members’ Motion for Partial Summary Judgment for damages on their

retaliation claims. (Id., ¶ 3, Ex. 13, Hathaway Case, Dkt. 4/4/2016, Order).

       18.    On May 5, 2016 the Class amended its Complaint to add Mr.


Page 7 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
Berman as a defendant, alleging the same claims against him as were previously

alleged against B. & J. and BBM. In allowing the amendment, Judge Graves

found:

               "Mr. Berman was involved in making the decisions that caused BBM
               to implement the policies at issue. Therefore, the Court allows
               plaintiffs' Motion to Amend the Complaint to add Mr. Berman as a
               party." (Id., ¶ 3, Ex. 14, Dkt. 2/25/2016, Opinion - Letter).

         19.   On November 29, 2016 Judge Graves granted the Class Members’

Motion for Partial Summary Judgment on damages for their ORS §90.315(4)

claims, and for liability on their ORS 90.385 retaliation claim.3 (Id., ¶ 3, Ex. 12,

Hathaway Case, Dkt. 07/09/2015, Opinion letter).

         20.   Although Judge Graves ruled that the $20 rent increase was

retaliatory and violated ORS §90.385, Mr. Berman caused the Park to continue

charging the unlawful $20 increase to Class Members who remained there. On

February 25, 2016, Judge Graves wrote:

               "On the February 8, 2016 phone conference with counsel, counsel
               for defendants indicated that defendants have continued to charge
               the same retaliatory rates, despite the July 9, 2015 ruling that the
               rates were in violation of ORS 90.385." (Id., ¶ 3, Ex. 14, Hathaway
               Case, Dkt. 2/25/16 - Opinion Letter).

         21.   The unlawful $20 charge continued until the date the bankruptcy

was filed by B. & J., and on information and belief still continues for Class



3 The entry of the Orders first on damages, then on liability for the retaliation claim
(paragraphs 17 and 19) are out of date sequence. This was because of some delays in
preparing and obtaining signatures on the two separate Orders. The rulings occurred in
the sequence of (1) liability and (2) damages.

Page 8 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
Members who remain as tenants at the Park. (Klingbeil dec., ¶ 5).

      22.    After a bench trial in December, 2017, Judge Graves found by clear

and convincing evidence that the BBM corporate entity should be disregarded,

and that Mr. Berman and B. & J. should be held jointly and severally liable for

BBM's unlawful acts relating to the Class:

             "I conclude that the shareholders of B & J Property Investments, Inc.
             and William Berman, individually, did exercise complete control of
             BBM."

             *****

             "After Mr. Berman became President of B & J, he and his wife
             incorporated BBM solely according to his testimony, to provide as a
             "corporate shield" for the assets of B & J. In addition, William
             Berman was the registered agent of both corporations.

             *****

             "I conclude that the shareholders of B & J Property Investments,
             Inc., and William Berman, individually, did engage in wrongful
             conduct with respect to BBM."

             *****

             "William and Debra Berman were the sole shareholders of B & J and
             BBM during all relevant times of Plaintiffs' claims. As President of
             both corporations and a shareholder, Mr. Berman caused BBM to
             violate ORS 90.315(4) through his own contrived plan to "avoid
             losing money on electrical charges" that BBM owned to its utility
             provider. He directed BBM staff to charge tenants a higher rate per
             KWH than the utility provider charged BBM. The evidence revealed
             that Mr. Berman instructed staff to inform tenants they would be
             charged .12c [12 cents] per KWH., which they were told was the
             same rate the utility charged BBM. That was patently false. He also,
             without consistent disclosure in class members' Rental Agreements,
             charged each tenant $10 monthly as a meter reading fee ($10 x 157
             tenant spaces = $1,570.00 monthly). Also, contrary to this court's
             Order dated January 15, 2015, BBM retaliated under ORS 90.385(1)

Page 9 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
             against the Plaintiff class by ceasing to charge an elevated KWH
             rate and the monthly meter reading fee and; instead, simply raised
             the monthly rental amount an approximately equal amount. The
             shareholders of BBM and Mr. Berman, as President engaged in
             BBM's misconduct by their actions described herein. The Court
             does not find William Berman's contrived rationale for BBM's meter
             reading fee and excess utility charges as explained in his testimony,
             to be credible. His hearsay testimony, which was uncorroborated in
             an Offer of Proof is simply not credible."

             *****

             "I conclude that the shareholders of B & J Properties Investments,
             Inc. and William Berman, individually, caused the complained of
             injury by the BBM Corporation ......" (Italics added.)

             (Id., ¶ 3, Ex. 2, Hathaway Case, Dkt. 4/27/17 - Corrected Opinion
             Letter).

      23.    On October 16, 2018 Judge Graves granted the Class’s Partial

Summary Judgment against all defendants' statute of limitations defense. He

found that the Class did not know, nor were there facts showing Class Members

had reason to know that the "meter reading fees" were unlawful:

             "the record does not contain any genuine issue of material facts
             concerning whether Plaintiffs knew or should have known of the
             critical facts that the meter reading fees were a violation of ORS
             90.315(4)."

             (Id., ¶ 3, Ex. 15, Hathaway Case, Dkt. 10/16/18 - Order on
             Plaintiffs’/Class Motion for Summary Judgment on Defendants’
             Statute of Limitations Defense….).

      24.    Mr. Berman and the other defendants did not contend that Class

Members knew or should have known that the inflated electrical charges violated

Oregon law. (Id.).

      25.    On October 30, 2018 Judge Graves entered a judgment in favor of

Page 10 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
the Class and against the Mr. Berman and other defendants in the amount

$3,900,501.00 for claims under ORS §90.315(4) and for $964,450.00 for

retaliation claims under ORS §90.385. (Id., ¶ 3, Ex. 17, Hathaway Case, Dkt.

10/31/18, Digitized Judgment Document).

       26.    On January 2, 2020, the court entered an Order awarding Class

Members attorney fees and costs of $925,161.20. (Id., ¶ 3, Ex. 16, Supplemental

Judgment).

       27.    At the Park there were 16 main meters that branched off to 158

individual site meters. PGE charged the Park a $12 fee to read each of the 16

main meters, for a total of $192 per month total meter reading fees for the entire

park. PGE did not read any of the 158 site meters, and consequently did not

charge any meter reading fee associated with the 158 meters. (Id., ¶ 4, Ex. 19,

Berman trial transcript, pp. 1534-38, 1540, 1543, 1682-84.)

       28.    The $192 charge is the total amount arguably recoverable under the

guidance of ORS 90.315(a), which would have allowed a charge of, at most,

$1.22 to each Class Member ($192 / 158 spaces = $1.22) if, and only if the

appropriate disclosures had been made to Class Members under ORS 90.315(b).

The meter reading fees, however, were never disclosed to Class Members as

required by statute. (Id., ¶ 3, Ex. 18, Hathaway Case, Dkt. 2/12/19, Opinion –

Letter re: attorney fees).

       29.    Mr. Berman admitted that the total meter fee PGE charged the Park

was far less than the amount he charged Park tenants:

Page 11 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
           Q.      Was PGE charging you a meter-reading fee to read your
                   meters?

           A.      Yeah, it's a term of basic charge, meter fee, it's synonymous
                   words the way I'm using them.

           Q.      About how much was your meter-reading fee from PGE?

           A.      $12.

           Q.      But you were charging, and that was per meter or per --

           A.      Per meter.

           *****

           Q.      So you were charging tenants $10 at a hundred to 150 -- 150
                   to 158 spaces every month?

           A.      Yes.

           Q.      And that's $1,580 if all 158 meters fees are charged.

           A.      Yes.

           Q.      Per month.

           A.      Yes.

           MR. KLINGBEIL: All right.

           THE COURT: I'm sorry, would you, I'm trying to catch up with my
           writing, PGE was charging a $12 reading fee -- meter-reading fee for
           all of the 16 main meters, is that correct?

           THE WITNESS: Yes, Your Honor.

           THE COURT: Total of 12.

           THE WITNESS: Total of 16. Oh, I'm sorry, total of $12 times 16, yes.

           THE COURT: Times 16 --


Page 12 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
                THE WITNESS: Times -- times --

                THE COURT: -- so one, one $12 fee for each of the 16 main
                meters?

                THE WITNESS: Yes, Your Honor.

                BY MR. KLINGBEIL: (Continuing)

                Q.    So if my math is right, that's about 120 plus seven two, about
                      less than $200 meter-reading fee per month?

                A.    Okay.

                Q.    Does that --

                A.    It --

                Q.    -- sound about right --

                A.    It sounds about right --

                Q.    Okay, but then you were turning around and charging 1,500
                      to 1,580 a month.

                A.    Yes. (Id., ¶ 4, Ex. 19, Berman trial transcript, pp. 1682-84.)

      30.       Mr. Berman also admitted at trial that he knew he could only charge

tenants an amount equal to or less than the amount PGE billed the Park for meter

reading fees:

                Q.    You mentioned meter-reading fees and that, as I recall, you said
                      that your understanding was you could charge as much or equal or
                      less than what PGE was charging for meter-reading fees?

                A.    Yes. (Id., p. 1682).

      31.       Even so, while PGE charged the Park a total of $192 each month for

meter reading fees, Mr. Berman caused the Park to charge the tenants a total of


Page 13 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
approximately $1,580 each month for meter reading fees. (Id., pp. 1682-84).

       32.   In his ruling on attorney fees, Judge Graves held:

             "Class members were awarded $4,864,541.00 in damages as a
             result of the court's findings and conclusions, that the landlord
             violated ORS 90.315 by charging tenants a higher kilowatt hour rate
             for electricity than was charged by the electric utility company. The
             landlord also charged each tenant a monthly meter reading fee
             ($10) that was not disclosed in the Rental Agreement, but then
             included on each tenants' monthly statement as a 'PGE meter fee.'"

             (Id., ¶ 3, Ex. 18, Hathaway Case, Dkt. 2/12/19, Opinion – Letter re:
             attorney fees). (Italics added).

       33.   The portion of ORS 90.315(4) relating to meter reading fees states

in part:

             “(a) ***** if a written rental agreement so provides, a landlord may
             require a tenant to pay to the landlord a utility or service charge or a
             public service charge that has been billed by a utility or service
             provider to the landlord for utility or service provided directly, or for a
             public service provided indirectly, to the tenant’s dwelling unit or to a
             common area available to the tenant as part of the tenancy.”

             *****

             (b)(A) If a rental agreement provides that a landlord may require a
             tenant to pay a utility or service charge *****

             (b)(C) The landlord must:

                     (i) Include in the bill to the tenant a copy of the provider’s
                     [PGE’s] bill; or

                     (ii) If the provider’s bill is not included, state that the tenant
                     may inspect the provider’s bill at a reasonable time and place
                     and that the tenant may obtain a copy of the provider’s bill by
                     making a request to the landlord during the inspection and
                     upon payment to the landlord for the reasonable cost of
                     making copies.


Page 14 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
              *****

              (c) Except as provided in this paragraph [referencing irrelevant
              portions dealing with cable tv or internet service], a *** service
              charge may only include the cost of the *** service as billed to the
              landlord by the provider.” ORS 90.315(4)

       34.    None of the Class Members’ rental agreements provided for or

disclosed a meter reading fee. The only disclosure to Class Members was

through a billing and payment ledger maintained in the Park’s business office that

stated a charge for a “$10 PGE Meter Fee.” (Id. ¶ 3, Ex. 18, Hathaway Case, Dkt.

2/12/19, Opinion – Letter re: attorney fees; ¶ 3, Ex. 2, Hathaway Case, Dkt.

4/17/18, Corrected Opinion Letter).

       35.    Class Members were never told they could inspect the PGE bill, nor

was it ever provided to them. The policy at the Park was just the opposite – Mr.

Berman and Park employees expressed overt hostility toward Class Members

who sought to review their electric and utility bills at the Park. In her signed and

sworn declaration, Class Member Debra Osborne related Mr. Berman’s response

to her inquiry about her fluctuating electrical bill. The interaction sheds light on the

environment created at the Park.

       Ms. Osborne testified:

              “2.    While a tenant at the Salem RV Park, I had asked on a few
              occasions why the electric bill fluctuated so much, but was never given a
              reason other than it was based on what my meter read. On the date I paid
              my final electric bill (10/12/2008), I spoke directly to the owner, Bill
              Berman, asking why my electric bill jumped from the $70/80 dollar per
              month range, to $109.



Page 15 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
              “3.    I will never forget his response. He told me, "It doesn't matter. You
              are being evicted. I've already shredded your file. You should feel grateful
              you are getting out of here without having to pay more because you
              actually owe me a lot of money."

              “4.        I never spoke to anyone from Salem RV Park after 10/27/2008.

              “5.    Mr. Berman's response to my inquiry was hostile, and it seemed to
              me that it was intended to intimidate me into not asking any additional
              questions about my electric bills.

              “6.  At no time before I learned of this lawsuit was I aware that Salem
              RV Park was applying a markup to the cost of my electricity.

              “7.   At no time before I learned of this lawsuit was I aware that Salem
              RV Park was charging me a $10 meter reading fee and that the charge
              was a violation of Oregon law.” (Id., ¶ 6, Ex. 20, Debra Osborne
              Declaration).

       36.    Besides violating ORS 90.315’s disclosure requirements, Mr.

Berman also intimidated Ms. Osborne at the time of her inquiry by falsely claiming

that she owned money to the Park. At the time Mr. Berman told Ms. Osborne

“you owe me a lot of money” the Park actually owed her approximately $90.

(Klingbeil dec., ¶ 7).

       37.    Class Member Shirley Angulo lived at SRVP from August 2008 to

July 2009. She attempted to ask the Park’s office managers why her electric bill

fluctuated. In her sworn and signed claim form, she explained:

              “While a tenant at Salem RV Park I asked the office manager at the
              Park office to show me a copy of my electric bill. He refused, stating
              “I do not have to show you a bill.” He treated me with hostility and
              aggression when I made the request.

              “When I asked about why there were discrepancies in the bill
              compared to the bill from the electric company, he told me that every
              tenant’s electrical bill was gathered into one bill, and that he (the

Page 16 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
               manager) then decided how much each tenant paid.

               “At no time before I learned of this lawsuit was I aware that Salem
               RV Park was applying a markup to the cost of my electricity.

               “At no time before I learned of this lawsuit was I aware that Salem
               RV Park was charging me a $10 meter reading fee that was a
               violation of Oregon law.” (Id., ¶ 8, Ex. 21, Angulo claim form).

       38.     The Park staff were apparently instructed by Mr. Berman or his

agents that they “do not have to show” tenants the information required by ORS

90.315. Again, similar to Ms. Osborne’s experience with Mr. Berman, the staff’s

refusal to provide the required documentation was combined with hostility and

aggression, sending the message that questions about electric service were not

welcome, and further shielding the unlawful overcharges and meter fee from

discovery.

       39.     The portion of ORS 90.315(4) relating to the electrical charges

states in relevant part:

               (c) Except as provided in this paragraph [referencing irrelevant
               portions dealing with cable tv or internet service], a utility *** charge
               may only include the cost of the utility *** as billed to the landlord by
               the provider.”

       40.     The cost of electricity billed by PGE to the Park varied from

approximately 9 cents per KWH to a figure that was always less than 12 cents per

KWH. Even so, the Park charged Class Members 12 cents per KWH, a figure

greater than “the cost of the utility *** as billed to” the Park by PGE. (Id., ¶ 3, Ex.

       /////

       /////

Page 17 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
2, Hathaway Case, Dkt. 4/17/18, Corrected Opinion Letter, p. 4).

      Dated January 9, 2020.

                                               /s/ Rick Klingbeil
                                               Rick Klingbeil OSB # 933326
                                               Of Attorneys for Ad Hoc Group




Page 18 - CONCISE STATEMENT OF MATERIAL FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT RE: COMPLAINT FOR NON-
DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(2)(A) and 11
U.S.C. 523(a)(6)
                 Case 19-06026-pcm Doc 52 Filed 02/24/20
                                    CERTIFICATE OF SERVICE
      I, Keith Karnes, certify that I served the forgoing document via ECF which will in turn
 serve:


NICHOLAS J HENDERSON nhenderson@portlaw.com,
tsexton@portlaw.com;mperry@portlaw.com;hendersonnr86571@notify.bestcase.com


And I further served the following via first class mail, postage prepaid, addressed to:

William John Berman
c/o Nicholas Henderson
117 SW Taylor St., #300
Portland, OR 97204


       DATED: February 24, 2020


                                             /s/Keith D. Karnes
                                             Keith D. Karnes, OSB No. 033521
                                             Rank & Karnes Law, P.C.




                       Case 19-06026-pcm         Doc 52     Filed 02/24/20
